                        UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                              1:18-cv-00969-TDS-JEP

  WILLIAM Z. WHITE                                 )
                                                   )
                  Plaintiff,                       )            JOINT
                                                   )   STIPULATION OF DISMISSAL
         v.                                        )        WITH PREJUDICE
                                                   )    BETWEEN PLAINTIFF AND
  THE CITY OF GREENSBORO, et al.,                  )     THE GCSO DEFENDANTS
                                                   )
                  Defendants.                      )

       COME NOW Plaintiff, William Z. White, and the following Defendants: BJ

Barnes in his official capacity; James Matthew Stalls, Elizabeth M. Buskirk, David W.

Cook and Homer F. Wilkins in their official and individual capacities; and Travelers

Casualty and Surety Company of America (said Defendants referred to collectively as the

“GCSO Defendants”); jointly, through their respective Counsel of record, pursuant to Fed.

R. Civ. P. 41(a)(1)(A)(ii), and jointly stipulate that all claims that were contained or could

have been contained in the Complaint (DE 1), Amended Complaint (DE 21), and Second

Amended Complaint (DE 81) in this action are hereby dismissed with prejudice.

       Any potential, but heretofore unasserted, appeals that could be asserted by Plaintiff

or any of the GCSO Defendants as to any rulings, decisions, or orders previously entered

by the District Court as to the GCSO Defendants in this action are, likewise, extinguished

with prejudice.

       Plaintiff and the GCSO Defendants will each bear their own costs of court,

attorneys’ fees, and other litigation expenses previously incurred with respect to each other.



                                              1


    Case 1:18-cv-00969-TDS-LPA          Document 286       Filed 09/30/22    Page 1 of 3
       This Stipulation only applies to Plaintiff and the GCSO Defendants and does not

affect Plaintiff’s claims as to any other Defendants in this action.

       Stipulated to as of this the 30th day of September, 2022.


                                           /s/ Rachel S. Decker
                                           Rachel S. Decker (NCSB 22020)
                                           Attorney for Plaintiff
                                           CARRUTHERS & ROTH, P.A.
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                                           /s/ J. D. Secor III
                                           James D. Secor III (NCSB #17594)
                                           Attorney for the GCSO Defendants
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                                              2


    Case 1:18-cv-00969-TDS-LPA          Document 286       Filed 09/30/22   Page 2 of 3
                             CERTIFICATE OF SERVICE

       This is to certify that, and in accordance with the provisions of Rule 5 of the Federal
Rules of Civil Procedure, I have on this day filed the JOINT STIPULATION OF
DISMISSAL WITH PREJUDICE BETWEEN PLAINTIFF AND THE GCSO
DEFENDANTS with the Clerk of Court’s CM/ECF system for electronic service upon the
following:


Patrick M. Kane
William C. Turner Jr.
Fox Rothschild LLP
300 N. Greene Street, Suite 1400
Greensboro, NC 27401
Attorneys for City of Greensboro Defendants

Dan M. Hartzog, Jr.
Anna M. Davis
Cranfill, Sumner & Hartzog LLP
54020 Wade Park Blvd., Suite 300
Raleigh, NC 27607
Attorneys for Reidsville Defendants

       This the 30th day of September, 2022.

                                                  /s/ Rachel S. Decker
                                                  Rachel S. Decker
                                                  Attorney for Plaintiff




                                              3


    Case 1:18-cv-00969-TDS-LPA          Document 286       Filed 09/30/22    Page 3 of 3
